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 1 MELINDA HAAG (CABN 132612)
   United States Attorney
 2
   DAVID R. CALLAWAY (CABN 121782)
 3 Chief, Criminal Division

 4 BRIANNA. PENNA (CABN 290444)
   JEFF SCHENK (CABN 234355)
 5 Assistant United States Attorneys

 6           150 Almaden Boulevard, Suite 900
             San Jose, California 95113
 7           Telephone: (408) 535-5061
             FAX: (408) 535-5066
 8           Brianna.penna@usdoj.gov

 9 Attorneys for United States of America
10
                                       UNITED STATES DISTRICT COURT
11
                                    NORTHERN DISTRICT OF CALIFORNIA
12
                                               SAN JOSE DIVISION
13

14   UNITED STATES OF AMERICA,                         )   Case No. CR-15-00226-BLF
                                                       )
15           Plaintiff,                                )   UNITED STATES’ WITNESS LIST
                                                       )
16      v.                                             )
                                                       )   Trial Date:    July 20, 2015
17   DOUGLAS YORK,                                     )   Time:          9:00 a.m.
                                                       )   Courtroom:     Hon. Beth Labson Freeman
18           Defendant.                                )
                                                       )
19

20

21

22           The United States submits this Witness List, giving notice to the Court and to defendant Douglas

23 York of the witnesses it may call in its case in chief at the trial in the above-captioned case. This list is

24 intended to be inclusive and does not necessarily identify the order in which witnesses will be called.

25 The government may choose not to call every witness on this list. The government reserves the right to

26 supplement this list as trial preparations progress. The government will notify the defendant of any
27 changes to its witness list.

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     UNITED STATES’ WITNESS LIST
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 1          A.     Percipient Witnesses

 2          The United States expects to call the following percipient witnesses in its case-in-chief:

 3                 1.      Allan Hessenflow, will testify to instances of contact with the defendant,
                           including but not limited to the voice mail he received on February 23, 2012 and
 4                         to other related exhibits.
 5                 2.      Andrea York, will testify about instances of contact with the defendant and to
 6                         other related exhibits.

 7                 3.      Special Agent Donna Aguirre, TIGTA will testify to the investigation.

 8                 4.      A custodian of records from Teltech Systems Inc., will testify to subpoenaed
                           records.
 9
                   5.      A custodian of records from Verizon Wireless will testify to subpoenaed phone
10                         records.
11                 6.      A custodian of records from Craigslist will testify to subpoenaed records related
12                         to a February 24, 2012 posting.

13
            B.     Other Witnesses and Custodians
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            The government reserves the right to add additional witnesses, including but not limited to,
15
     custodian witnesses for the documents and records to be introduced as exhibits.
16

17
     DATED: July 9, 2015                                          Respectfully submitted,
18
                                                                  MELINDA HAAG
19                                                                United States Attorney
20

21                                                                       /s/
                                                                  BRIANNA PENNA
22                                                                JEFF SCHENK
                                                                  Assistant United States Attorneys
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     UNITED STATES’ WITNESS LIST
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